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 5                               UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                Case No. 2:13-cr-0148-JAD-GWF
                                               )
10   vs.                                       )                ORDER
                                               )
11   JULIO DE ARMAS DIAZ,                      )
     ALEXIS TORRES SIMON, and                  )
12   ALEXANDER DEL VALLE GARCIA,               )
                                               )
13                     Defendants.             )
     __________________________________________)
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15          This matter is before the Court in regard to the Government’s submission of documents for
16   in camera review pertaining to funds that were advanced to the confidential informant for the
17   purchase of two purses from Defendant Alexis Torres Simon. Based on its review of the
18   documents, the Court is satisfied that amount advanced by the FBI to the informant for the
19   purchase was $100.00.
20          DATED this 8th day of April, 2014.
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22                                               ______________________________________
                                                 GEORGE FOLEY, JR.
23                                               United States Magistrate Judge
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